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UNITED STATES DISTRICT COUR'I'
FOR THE MIDDLE DISTRICT OF FLORIDA

PAUL PARSHALL, Individually and On Behalf )

of`All Others Similarly Situaled,

Plainti l`f,

V.

ATLANTIC COAST FINANCIAL
CORPORATION, JOHN K. S'I`EPHENS, JR.,
DAVE BHASlN, BHANU CHOUDHRlE,
JOI-IN J. DOLAN, JAMES D. HOGAN, W.

ERIC PALMER, JAY S. SIDHU, and AMERIS
BANCORP,

Dei`endants.

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COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

Plaintiff, by his undersigned attomeys, for this complaint against defendants, alleges upon

personal knowledge with respect to himself`, and upon information and belief based upon, inter

alia, the investigation of counsel as to all other allegations herein, as follows:

NATURE OF THE ACTION

l.

This action stems from a proposed transaction announced on November 17, 2017

(the “Proposed Transaction”), pursuant to which Atlantic Coast Financial Corporation (“Atlantic”

or the “Company”) will be acquired by Ameris Bancorp (“Ameris”).

2.

On November l6, 2017, Atlantic’s Board of Directors (the “Board” or “lndividual

Defendants”) caused the Company to enter into an agreement and plan of merger (the “Merger

Agreement”) with Ameris.

Pursuant to the terms of the Merger Agreement, Atlantic’s

stockholders will have the right to receive $1.39 in cash and 0.17 shares of Ameris common stock

for each share of the common stock ofAtlantic they hold.

3.

On February 20, 2018, defendants filed a proxy statement/prospectus with the

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United States Securities and Exchange Commission (the “SEC”) in connection with the Proposed
Transaction (the “Proxy Statement”).

4. The Proxy Statement omits material information with respect to the Proposed
Transaction, which renders the Proxy Statement false and misleading. Accordingly, plaintiff
alleges herein that defendants violated Sections l4(a) and 20(a) of the Securities Exchange Act of
1934 (the “1934 Act”) in connection with the Proxy Statement.

JURISDICTION AND VENUE

5. This Court has jurisdiction over all claims asserted herein pursuant to Section 27 of
the 1934 Act because the claims asserted herein arise under Sections l4(a) and 20(a) of the 1934
Act and Rule l4a-9.

6. This Court has jurisdiction over defendants because each defendant is either a
corporation that conducts business in and maintains operations within this District, or is an
individual with sufficient minimum contacts with this District so as to make the exercise of
jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

7. Venue is proper under 28 U.S.C. § 1391 because a substantial portion of the

transactions and wrongs complained of herein occurred in this District,

PARTlES
8. Plaintiff is, and has been continuously throughout all times relevant hereto, the
owner of Atlantic common stock.
9. Defendant Atlantic is a Maryland corporation and maintains its principal executive

offices at 4655 Salisbury Road, Suite l lO, Jacksonville, Florida 32256. Atlantic’s common stock
is traded on the NasdaqGM under the ticker symbol “ACFC.”

10. Defendant John K. Stephens, .lr. (“Stephens”) is a director, the President, and Chief

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Executive Officer (“CEO”) of the Company according to the Company’s Form lO-K filed with the
SEC on March l4, 2017.

ll. Defendant Dave Bhasin (“Bhasin”) is a director of the Company according to the
Company’s Form lO-K filed with the SEC on March l4, 2017.

12. Defendant Bhanu Choudhrie (“Choudrie”) is a director of the Company according
to the Company’s Form lO-K filed with the SEC on March l4. 2017.

13. Defendant John .l. Dolan (“Dolan”) is a director of the Company according to the
Company’s Form lO-K filed with the SEC on March l4, 2017.

l4. Defendant James D. Hogan (“Hogan”) is a director of the Company according to
the Company’s Form lO-K filed with the SEC on March l4, 2017.

15. Defendant W. Eric Palmer (“Palmer”) is a director of the Company according to
the Company’s Form lO-K filed with the SEC on March l4, 2017.

16. Defendant .lay S. Sidhu (“Sidhu”) is a director of the Company according to the
Company’s Form lO-K filed with the SEC on March l4, 2017.

l7. The defendants identified in paragraphs ll through 16 are collectively referred to
herein as the “Individual Defendants.”

18. Defendant Ameris is a Georgia corporation and maintains its principle executive
offices at 310 First Street, S.E., Moultrie, Georgia 31768. Ameris’s common stock is traded on
the NasdaqGS under the ticker symbol “ABCB.”

CLASS ACTION ALLEGATIONS

l9. Plaintiff brings this action as a class action on behalf of himself and the other public

stockholders of Atlantic (the “Class”). Excluded from the Class are defendants herein and any

person, firm, trust, corporation, or other entity related to or affiliated with any defendant.

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20. This action is properly maintainable as a class action.

21. The Class is so numerous that joinder of all members is impracticable. As of
November 16, 2017, there were 15,553,709 shares of Atlantic common stock outstanding, held by
hundreds, if not thousands, of individuals and entities scattered throughout the country.

22. Questions of law and fact are common to the Class, including, among others,
whether defendants violated the 1934 Act and whether defendants will irreparably harm plaintiff
and the other members of the Class if defendants’ conduct complained of herein continues

23. Plaintiff` is committed to prosecuting this action and has retained competent counsel
experienced in litigation of this nature. Plaintift`s claims are typical of the claims of the other
members of the Class and plaintiff has the same interests as the other members of the Class.
Accordingly, plaintiff is an adequate representative of the Class and will fairly and adequately
protect the interests of the Class.

24. The prosecution of separate actions by individual members of the Class would
create the risk of inconsistent or varying adjudications that would establish incompatible standards
of conduct for defendants, or adjudications that would, as a practical matter, be dispositive of the
interests of individual members of the Class who are not parties to the adjudications or would
substantially impair or impede those non-party Class members’ ability to protect their interests.

25. Defendants have acted, or refused to act, on grounds generally applicable to the
Class as a whole, and are causing injury to the entire Class. Therefore, final injunctive relief on
behalf of the Class is appropriate.

SUBSTANT[VE ALLEGATIONS

 

26. Atlantic is the holding company for Atlantic Coast Bank, a community-oriented

financial institution serving the Northeast Florida, Central Florida, and Southeast Georgia markets

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through ten full-service branches and five lending offices.

27. Atlantic Coast Bank was established in 1939 as a credit union to serve the
employees of the Atlantic Coast Line Railroad.

28. On November l, 2000, alier receiving the necessary regulatory and membership
approvals, Atlantic Coast Federal Credit Union converted to a federal mutual savings bank (and
subsequently a federally-chartered savings bank) known as Atlantic Coast Bank. The conversion
allowed Atlantic Coast Bank to diversify its customer base by marketing products and services to
individuals and businesses in its market areas and make loans to customers who did not have a
deposit relationship with Atlantic Coast Bank.

29. On December 27, 2016, Atlantic Coast Bank consummated the conversion of its
charter from that of a federally-chartered savings bank to that of a Florida state-chartered
commercial bank.

30. Atlantic Coast Bank has traditionally focused on attracting deposits and investing
those funds primarily in loans, including commercial real estate loans, consumer loans, first
mortgages on owner-occupied one- to four-family residences, and home equity loans.

31. Additionally, Atlantic Coast Bank invests funds in multi~family residential loans,
commercial business loans, and commercial and residential construction loans.

32. Atlantic Coast Bank also invests funds in investment securities, primarily those
issued by U.S. government-sponsored agencies or entities, including Fannie Mae, Freddic Mae,
and Ginnie Mae.

33. On November 16, 2017, the lndividual Defendants caused the Company to enter
into the Merger Agreement with Ameris.

34. Pursuant to the terms of the Merger Agreement, Atlantic’s stockholders will have

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the right to receive $l.39 in cash and 0.17 shares of Ameris common stock for each share of the
common stock of Atlantic they hold.

35. On February 20, 2018, defendants filed the Proxy Statement with the SEC in
connection with the Proposed Transaction. As set forth below, the Proxy Statement omits material
information with respect to the Proposed Transaction.

36. First, the Proxy Statement omits material information regarding the Company’s and
Ameris’s financial projections, as well as the valuation analyses performed by the Company’s
financial advisor in connection with the Proposed Transaction, Hovde Group, LLC (“Hovde”).

37. The disclosure of projected financial information is material because it provides
stockholders with a basis to project the future financial performance of a company, and allows
stockholders to better understand the financial analyses performed by the company’s financial
advisor in support of its fairness opinion. Moreover, when a banker’s endorsement of the fairness
of a transaction is touted to shareholders, the valuation methods used to arrive at that opinion as
well as the key inputs and range of ultimate values generated by those analyses must also be fairly
disclosed.

38. The Proxy Statement fails to disclose the Company’s financial projections

39. Similarly, the Proxy Statement fails to disclose Ameris’s financial projections.

40. The Proxy Statement fiirther fails to disclose the synergies that are anticipated to
result from the merger.

41. With respect to Hovde’s Discozmted Cash Flow Analysis, the Proxy Statement fails
to disclose the terminal value for the Company.

42. With respect to Hovde’s Accrerion/Dilution Analysis, the Proxy Statement fails to

disclose the assumptions regarding the accounting treatment, acquisition adjustments, cost

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savings, and synergies.

43. With respect to Hovde’s Comparab/e Transactions analysis, the Proxy Statement
fails to disclose the individual multiples and financial metrics for the transactions observed by
Hovde in the analysis.

44. With respect to Hovde’s Comparable Compam'es Analysis, the Proxy Statement
fails to disclose the individual multiples and financial metrics for the companies observed by
l-lovde in the analysis.

45. Second, the Proxy Statement omits material information regarding potential
conflicts of interest of Hovde.

46. The Proxy Statement states that “Hovde has received from Atlantic and Atlantic
Coast Bank a fairness opinion fee upon the delivery of the fairness opinion to the board of directors
of Atlantic. Additionally, Hovde will receive a completion fee that is contingent upon the
consummation of the merger.” However, the Proxy Statement fails to disclose the amount of
Hovde’s fairness opinion fee and the estimated amount of its completion fee.

47. Full disclosure of investment banker compensation and all potential conflicts is
required due to the central role played by investment banks in the evaluation, exploration,
selection, and implementation of strategic altematives.

48. The omission of the above-referenced material information renders the Proxy
Statement false and misleading, including, inter alia, the following sections of the Proxy
Statement: (i) Background of the Merger; (ii) Atlantic’s Reasons for the Merger and the
Recommendation of the Atlantic Board of Directors; and (iii) Opinion of Atlantic’s Financial
Advisor.

49. The omitted information, if disclosed, would significantly alter the total mix of

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information available to the Company’s stockholders

COUNT I

Claim for Violation of Section l4(a) of the 1934 Act and Rule 14a-9 Promulgated
Thereunder Against the [ndividual Defendants and Atlantic

50. Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

51 . The lndividual Defendants disseminated the false and misleading Proxy Statement,
which contained statements that, in violation of Section l4(a) of the 1934 Act and Rule 14a-9, in
light of the circumstances under which they were made, omitted to state material facts necessary
to make the statements therein not materially false or misleading Atlantic is liable as the issuer
of these statements.

52. The Proxy Statement was prepared, reviewed, and/or disseminated by the
lndividual Defendants. By virtue of their positions within the Company, the Individual Defendants
were aware of this information and their duty to disclose this information in the Proxy Statement.

53. The Individual Defendants were at least negligent in filing the Proxy Statement
with these materially false and misleading statements

54. The omissions and false and misleading statements in the Proxy Statement are
material in that a reasonable stockholder will consider them important in deciding how to vote on
the Proposed Transaction, In addition, a reasonable investor will view a full and accurate
disclosure as significantly altering the total mix of information made available in the Proxy
Statement and in other information reasonably available to stockholders

55. The Proxy Statement is an essential link in causing plaintiff and the Company’s
stockholders to approve the Proposed Transaction,

56. By reason of the foregoing, defendants violated Section l4(a) of the 1934 Act and

Rule 14a-9 promulgated thereunder.

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57. Because of the false and misleading statements in the Proxy Statement, plaintiff
and the Class are threatened with irreparable harm.

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Claim for Violation of Section 20(a) of the 1934 Act
Against the Individual Defendants and Ameris

58. Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

59. The Individual Defendants and Ameris acted as controlling persons of Atlantic
within the meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue of their positions
as officers and/or directors of Atlantic and participation in and/or awareness of the Company’s
operations and/or intimate knowledge of the false statements contained in the Proxy Statement,
they had the power to influence and control and did influence and control, directly or indirectly,
the decision making of the Company, including the content and dissemination of the various
statements that plaintiff contends are false and misleading

60. Each of the lndividual Defendants and Ameris was provided with or had unlimited
access to copies of the Proxy Statement alleged by plaintiff to be misleading prior to and/or shortly
alier these statements were issued and had the ability to prevent the issuance of the statements or
cause them to be corrected.

61. ln particular, each of the lndividual Defendants had direct and supervisory
involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had
the power to control and influence the particular transactions giving rise to the violations as alleged
herein, and exercised the same. The Proxy Statement contains the unanimous recommendation of
the Individual Defendants to approve the Proposed Transaction, They were thus directly involved
in the making of the Proxy Statement.

62. Ameris also had direct supervisory control over the composition of the Proxy

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Statement and the information disclosed therein, as well as the information that was omitted and/or
misrepresented in the Proxy Statement.

63. By virtue of the foregoing, the lndividual Defendants and Ameris violated Section
20(a) of the 1934 Act.

64. As set forth above, the lndividual Defendants and Ameris had the ability to exercise
control over and did control a person or persons who have each violated Section l4(a) of the 1934
Act and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their positions as
controlling persons, these defendants are liable pursuant to Section 20(a) of the 1934 Act. As a
direct and proximate result of defendants’ conduct, plaintiff and the Class are threatened with
irreparable harm.

PRAYER FOR RELIEF

WHEREFORE, plaintiff prays forjudgment and relief as follows:

A. Enjoining defendants and all persons acting in concert with them fi'om proceeding
with, consummating, or closing the Proposed Transaction;

B. ln the event defendants consummate the Proposed Transaction, rescinding it and
setting it aside or awarding rescissory damages;

C. Directing the lndividual Defendants to file a Proxy Statement that does not contain
any untrue statements of material fact and that states all material facts required in it or necessary
to make the statements contained therein not misleading;

D. Declaring that defendants violated Sections l4(a) and/or 20(a) of the 1934 Act, as
well as Rule 14a-9 promulgated thereunder;

E. Awarding plaintiff the costs of this action, including reasonable allowance for

plaintiffs attomeys’ and experts’ fccs; and

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F. Granting such other and further relief as this Court may deem just and proper.
JURY TRIAL DEMAND
Plaintiff hereby demands a trial byjury on all issues so triable.
Dated: March 2, 2018 CULLIN O’BRIEN LAW, P.A.
By: /s/ Cullin A. O 'Brien
Cullin A. O’Brien

Florida Bar No. 0597341
Cullin@cullinobrienlaw.com

 

OF COUNSEL: 6541 N.E. 2lst Way
Ft. Lauderdale, FL 33308
RIGRODSKY & LONG, P.A. Tel.: (561) 676-5370
300 Delaware Avenue, Suite 1220
Wilmington, DE 19801 Attorneysfor Plaintr_'[)"

Tel.: (302) 295-5310

RM LAW, P.C.

1055 Westlakes Drive, Suite 300
Berwyn, PA 19312

'l`el.: (484) 324-6800

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CERTIFICATION OF PLAINTIFF

l, Paul Parshall (“Plaintifi”), hereby declare as to the claims asserted under the federal
securities laws that:

1. Plaintiff has reviewed the complaint and authorizes its filing.

2. Plaintiff did not purchase the security that is the subject of this action at the
direction of Plaintiff’s counsel or in order to participate in any private action.

3. Plaintiff is willing to serve as a representative party on behalf of the class, either
individually or as part of a group, and l will testify at deposition or trial, if necessary. l
understand that this is not a claim form and that I do not need to execute this Certification to
share in any recovery as a member of the class.

4. Plaintiff`s purchase and sale transactions in the Atlantic Coast Financial
Corporation (NasdaqGM: ACFC) security that is the subject of this action during the class period

is/are as follows:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PURCHASES SALES
Buy Shares Price per Sell Sharcs Price per
Date Share Date Share
8/3/17 46 $7.98
Please list additional transactions on separate sheet ofpaper, g`fnecessary.
5. Plaintiff has complete authority to bring a suit to recover for investment losses on

behalf of purchasers of the subject securities described herein (including Plaintiff`, any co-

owners, any corporations or other entities, and/or any beneficial owners).

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6. During the three years prior to the date of this Certification, Plaintiff has not
moved to serve as a representative party for a class in an action filed under the federal securities
laws.

7. Plaintiff will not accept any payment for serving as a representative party on
behalf of the class beyond Plaintiff s pro rata share of any recovery, except such reasonable
costs and expenses (including lost wages) directly relating to the representation of the class as

ordered or approved by the Court.

1 declare unlety of perjury that the foregoing is true and eorrect.
Executed this

day of February, 2018.
/

’PAUYPAasi-;A.a.:_

 

